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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                        )       CHAPTER 13
DWAYNE TERRELL ZANDERS                        )       CASE: A18-59670-JWC
                                              )
                                              )
                 DEBTOR                       )

           CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION
                      AND MOTION TO DISMISS CASE

       COMES NOW, Nancy J. Whaley, the Standing Chapter 13 Trustee herein, and
objects to Confirmation of the plan for the following reasons:

                                             1.

        The Debtor's payments under the proposed plan are not current, thus indicating that
this plan is not feasible. 11 U.S.C. Section 1325(a)(6).

                                             2.

      The Trustee requests a copy of the Debtor's amended 2017 tax return in order to
determine the accuracy and veracity of the plan and/or Schedules. 11 U.S.C. Section
521(1), 11 U.S.C. Section 1325(a)(3), and 11 U.S.C. Section 1325(b)(1)(B).

                                             3.

        The Chapter 13 schedules fail to accurately reflect the Debtor’s income, thereby
preventing the contribution of all projected disposable income to this plan in possible
violation of 11 U.S.C. Section 1325(b)(1)(B).

                                             4.

       After review of scheduled income and anticipated household expenses, Debtor’s
proposed budget may fail to provide sufficient funds for ordinary living expenses in
possible violation of 11 U.S.C. Section 1325(a)(6).

                                             5.

       The proposed plan payment is insufficient to fund creditors and attorney fees
pursuant to the set payments in the plan.
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                                             6.

       The plan fails to treat the Internal Revenue Service and TitleMax in violation of 11
U.S.C. Section 1322(a) and/or 11 U.S.C. Section 502(a).

      WHEREFORE, the Trustee moves the Court to inquire into the above objections,
deny Confirmation of the Debtor’s plan, and to dismiss the case.

This the 19th day of July, 2018.
                                         Respectfully submitted,

                                         /s/__________________________________
                                         Ryan J. Williams
                                         Attorney for the Chapter 13 Trustee
                                         State Bar No. 940874
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                              CERTIFICATE OF SERVICE


Case No: A18-59670-JWC

This is to certify that I have this day served the following with a copy of the foregoing
Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case by
depositing in the United States mail a copy of same in a properly addressed envelope with
adequate postage thereon.


Debtor(s)
DWAYNE TERRELL ZANDERS
1685 STOKES AVENUE SW
ATLANTA, GA 30310



By Consent of the parties, the following have received an electronic copy of the
foregoing Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case
through the Court's Electronic Case Filing system.

Debtor(s) Attorney:
KING & KING LAW LLC
karen.king@kingkingllc.com




This the 19th day of July, 2018.


/s/__________________________________
Ryan J. Williams
Attorney for the Chapter 13 Trustee
State Bar No. 940874
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
